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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

vs.                          CASE NO. 4:10CR00065-09 BSM

BARRY DEVORE                                                                   DEFENDANT

                                          ORDER

       A hearing on the United States’ motion to revoke supervised release [Doc. No. 944]

is scheduled Monday, January 25, 2016 at 10:00 a.m.

       The motion for summons to be issued [Doc. No. 944] is granted. The clerk is directed

to issue a summons and the United States Marshals is directed to serve the summons and a

copy of this order on Barry Devore to appear Monday, January 25, 2016 at 10:00 a.m. at

Richard Sheppard Arnold United States Courthouse, 500 West Capitol, Room 2D, Little

Rock, Arkansas, for a hearing on the motion to revoke supervised release. The summons

should state that the defendant is to report to the United States Probation Office, 600 West

Capitol Avenue, Room A226, thirty (30) minutes prior to the scheduled hearing. The clerk

is directed to provide a copy of the motion to the United States Marshals.

       Kim Driggers, Assistant Federal Public Defender, is appointed to represent defendant

in the revocation proceedings.

       The clerk is also directed to provide a copy of this order to the United States Probation

Office.

       IT IS SO ORDERED this 15th day of December 2015.



                                                   UNITED STATES DISTRICT JUDGE
